
936 So.2d 807 (2006)
STATE of Louisiana
v.
ALL PROPERTY AND CASUALTY INSURANCE CARRIERS AUTHORIZED AND LICENSED TO DO BUSINESS in the STATE of Louisiana.
No. 2006-CD-2030.
Supreme Court of Louisiana.
August 22, 2006.
Writ Granted. This matter is remanded to the district court, which is ordered to set the case for evidentiary hearing no later than Wednesday, August 23, 2006. The district court is to render a decision on the constitutional issue on that date. Irrespective of the ruling below, any party may apply directly to this court for review of the district court's decision by 10:00 a.m., Thursday, August 24, 2006. Should this matter return to this court, a hearing shall be held on Friday, August 25, 2006, at 9:30 a.m. The parties should file briefs in this court by 4:00 p.m. on Thursday, August 24, 2006.
KIMBALL, J., would grant a hearing in this court without the necessity of remanding.
JOHNSON, J., would grant a hearing in this court without the necessity of remanding.
KNOLL, J., would grant a hearing in this court without the necessity of remanding.
